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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

IN RE:                                        )
                                              )
BRADLEY WILLIAM LANG                          )       Case No. 16−32482−KLP
                                              )       Chapter 13
                       Debtor                 )

                        AFFIDAVIT OF BRADLEY WILLIAM LANG

         1.    My name is BRADLEY WILLIAM LANG. I am above the age of 18 years, and

competent to make this affidavit.

         2.    I have personal knowledge of the facts set forth in this affidavit.

         3.    On or about May 7, 2016, I filed a petition under Chapter 13 of the Bankruptcy

Code, and a Chapter 13 plan was subsequently confirmed.

         4.    I divorced in 2019, and I lost my spouse's income of $2,080 per month gross. I have

also lost my health insurance through my spouse’s employer, and now I have no health insurance.

I now have a $4,000 per month support obligation.

         5.    No payments have been made to the Chapter 13 Trustee in my case since February

2019, when my house was sold and $19,442.01 was paid to the Trustee from the sales proceeds.

         6.    I am self-employed in the flooring business and my business income has decreased

from the prior year due to COVID-19.

         7.    The confirmed Chapter 13 Plan in this case was filed as a one percent (1%) dividend

to unsecured creditors and to date unsecured creditors have been paid a dividend of 7.57%.

         8.    Pursuant to paragraph A-4 of the confirmed plan, if the case were liquidated

under Chapter 7, the unsecured creditors would receive no dividend on their allowed claims.

James E. Kane (VSB# 30081)
KANE & PAPA, P.C.
P. O. Box 508
Richmond, Virginia 23218-0508
Telephone (804) 225-9500
Counsel for Debtor
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Thus the value, as of the effective date of the plan, of property actually distributed under the plan

on account of each allowed unsecured claim is not less than the amount that would have been

paid on such claim if my estate had been liquidated under Chapter 7.

       9.      Modification of the plan under 11 U.S.C. § 1329 is not practicable because I am

not able to generate sufficient income to cover my basic living expenses.

       Signed electronically on February 23, 2021.



                                              /s/ BRADLEY WILLIAM LANG (seal)
                                              BRADLEY WILLIAM LANG



                            CERTIFICATE OF ACKNOWLEDGMENT

State of Virginia
City of Richmond; to wit:

The foregoing instrument was signed electronically on February 23, 2021, by BRADLEY
WILLIAM LANG.
                                                      /s/ Alfred A. Wilson
                                                                  Notary Public


My Commission Expires:                April 30, 2022
Notary Registration Number:            7767477




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